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                                    UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                           TAMPA DIVISION



   JOSE SIMON AGUIRRE,

           Petitioner,

   -vs-                                                                   Case No. 8:04-CR-475-T-30MSS
                                                                                   8:05-CV-2350-T-30MSS
   UNITED STATES OF AMERICA ,

        Respondent.
   _____________________________/

                                                       ORDER

            Petitioner has filed a Notice of Appeal of this Court's March 20, 2006 decision

   denying his motion for relief under 28 U.S.C. § §2255 (CV Dkt. 8) and a Motion for Leave

   to Proceed In Forma Pauperis on appeal (CV Dkt. 10). The Court construes the Notice of

   Appeal as an application for a certificate of appealability (“COA”) pursuant to Rule 22, Fed.

   R. App. P.,1 and 28 U.S.C. §22532 (CV Dkt. 9).

            The Court denied Petitioner's constitutional claims on the merits (Dkt. 6). While

   issuance of a COA does not require a showing that the appeal will succeed, see Miller-El

   v. Cockrell, 537 U.S. 322, 336-37 (2003), under the controlling standard, a petitioner must



            1
             "Certificate of Appealability. (1) In a . . . 28 U.S.C. §§ 2255 proceeding, the applicant cannot take
   an appeal unless a circuit justice or a circuit or district judge issues a certificate of appealability under 28
   U.S.C. §§ 2253(c). If an applicant files a notice of appeal, the district judge who rendered the judgment must
   either issue a certificate of appealability or state why a certificate should not issue. . . . If no express request
   for a certificate is filed, the notice of appeal constitutes a request addressed to the judges of the court of
   appeals." Rule 22, Fed. R. App. P.
            2
            "[I]n . . . a proceeding under section 2255 . . , the final order shall be subject to review, on appeal,
   by the court of appeals for the circuit in which the proceeding is held. . . . (c)(1) Unless a circuit justice or judge
   issues a certificate of appealability, an appeal may not be taken to the court of appeals from -- . . .(B) the final
   order in a proceeding under section 2255. . . . (2) A certificate of appealability may issue . . . only if the
   applicant has made a substantial showing of the denial of a constitutional right." 28 U.S.C. § 2253(c).
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   demonstrate that reasonable jurists would find the Court's assessment of the Petitioner’s

   constitutional claims debatable or wrong. See Slack v. McDaniel, 529 U.S. 473, 484

   (2000); Eagle v. Linahan, 279 F.3d 926, 935 (11th Cir. 2001). Petitioner has failed to make

   this threshold showing. See Slack, 529 U.S. at 485.

            ACCORDINGLY, the Court ORDERS that:

            1.    Petitioner's Notice of Appeal, which is construed as an application for

   issuance of a certificate of appealability (CV Dkt. 9), is DENIED.

            2.    The Motion for Leave of the Court to Proceed In Forma Pauperis (CV Dkt. 10)

   is DENIED.

            DONE and ORDERED in Tampa, Florida on April 13, 2006.




   Copies furnished to:
   All Parties/Counsel of Record

   SA:jsh




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